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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    -----------------------------------------------------------------)(
    J.D WORKFORCE, INC.,
                                                                          Case No.: 1:22..cv-7930 (LDH) (MMH)
                                             Plaintiff,
                                                                          STIPULATED ORDER AND_
                        -against-                                         PRELIMINARY INJUNCTION

    MOHAMED J. GAFOOR and ABC COMPANY,

                                             Defendants.
    -----------------~--------------------------------------~----)(
             Plaintiff J.D Workforce, Inc. (hereinafter "Plaintiff' or "J.D Workforce") and Defendants

    Mohamed J. Gafoor (hereinafter "Gafoor" or the "Individual Defendant") and ABC Company

    (hereinafter "ABC" or the "Corporate Defendant'') (the Individual Defendant and the Corporate

    Defendant collectively hereinafter the "Defendants"), by and through their undersigned counsel,

    hereby stipulate to the following:

             1.         Defendants and any persons/entities acting in concert with them, pending this

    litigation, are hereby:

                  (a)   preliminarily enjoined from using in any manner whatsoever J.D Workforce's

    trade secret and confidential and proprietary information (including, without limitation, J.D

    Workforce's customer database, including the identity and contact information of J.D

    Workforce's customers, or any other information regarding J.D Workforce's customers, clients,

    transactions, financial information, pricing information, or other matters involving J.D

    Workforce);

                  (b)   directed and agree to return to J.D Workforce all originals and copies of

    documents, records, and information, whether in hard copy and/or computerized and/or other

    electronic media form, that contain J.D Workforce's trade secrets and confidential and
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    proprietary information (including, without limitation, J .D Workforce' s customer database,

    including the identity and contact information of J .D Workforce' s customers, and for each

    customer of J.D Workforce, the services offered and payments received from J.D Workforce's-

    customers, and/or other matters involving J.D Workforce and which Defendants obtained or

    accessed, including without limitation information regarding J.D Workforce's customers,

    clients, transactions, financial information, pricing information, or other information involving

    J.D Workforce;

             (c)    directed and agree to make all electronic accounts that are in their custody or

    control and on which they stored information regarding J .D Workforce' s trade secrets and

    confidential or proprietary information available and accessible to J.D Workforce (including

    providing relevant passwords) to inspect to ensure J.D Workforce's trade secrets and

    confidential and proprietary information is secure and has not been improperly copied or

    distributed;

              (d)   preliminarily enjoined from contacting any of J.D Workforce's employees,

    customers, and/or vendors, including-without limitation-J.D Workforce's customer BirdsBoro

    Kosher Farms, for any reason;

              (e)   preliminarily enjoined from contacting any of J.D Workforce's current or former

    employees to solicit them to leave the employment of J .D Workforce;

              (t)   preliminarily enjoined from destroying any electronic or other communications or

    documents related to its business and J.D Workforce; and

            (g)      directed and agree to retain the services of Berkeley Research Group, LLC, as

    forensic examiner ("Examiner"), who shall be permitted to conduct an examination of Gafoor' s

    cellular phone and any computer to search for any documents or electronically stored

    information which belongs to JD Workforce, which will require the full cooperation of the
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    parties to support the identification, preservation, and forensic collection information

    potentially relevant to the Examination. The Examination shall include Gafoor's personal and

    business digital electronic devices, files, data, images, and computer systems, in his possession,

    custody, or control and belonging to Gafoor together with non-custodial sources where the

    foregoing documents sought may reside; the creation of duplicate forensic copies of the same

    (the collected ESI and forensic images are collectively referred to herein as the "Forensic

    Images"); and forensic analysis of the Forensic Images for the purposes of determining: a. The

    likelihood of the existence, deletion, or destruction of documents, data, emails, or infonnation

    of JD Workforce on Gafoor's devices; b. the dissemination of such information to third-parties,

    and the likelihood of deletion, or destruction of such document by Gafoor; c. To the extent the

    Examiner identifies the existence, deletion, or destruction of documents, data, emails, or

    information the volume and nature thereof and any such deletion or destruction and the extent

    to which some or all of these materials may be recovered; and d. The Examination may include

    interviews with relevant personnel or agents needed for the Examiner to carry out the

    Examination required by this Order. The Examiner shall be permitted to search, review, and

    analyze data or information on the Forensic Images in their entirety, including active files, data

    fragments, log files, application data, and unallocated or deleted space, and other artifacts that

    can lead to an understanding of content and historical use. Neither party shall have control over

    the analysis perfonned. Any devices collected shall be imaged "in place" and not removed off-

    site. The parties and their counsel shall have the right to be present during such analysis. Except

    as provided above, following the entry of this so Ordered stipulation, there shall be no ex parte

    communications with the Examiner by any party or its counsel and all email communications

    with the Examiner shall copy each party's counsel. Each party may, at its option, provide the

    Examiner with appropriate background or information relevant to the forensic analysis so long


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    as such background or infonnation is provided in writing and contemporaneously to the

    opposing party. The Examiner shall maintain the Forensic Images in a secure facility operated

    by the Examiner and, except as directed othe1w isc by joint stipulation of the pa11ies or order of

    the Comt, the Examiner shall retain custody of the Forensic Images until the litigation has

    come to an end (i.e., the case has been dismissed and after all appeals have been exhausted,

    assuming there are any appeals). The Examiner shall not disclose or pe1mit any such disclosure

    of the contents of the Forensic Images to anyone other than the parties, their attorneys or

    agents, except as provided for herein or by Court Order. Prior to beginning any work, the

    Examiner shall execute a letter of confidentiality consistent with the provisions of this

    paragraph and shall provide a copy to counsel fo r the parties. The Examiner shall provide the

    parties with a forensic report as to the actions taken by the Examiner, including a detailed

    description of personnel interviewed, each piece of digital media inspected, copied, or imaged,

    as well as documentation of the chain of custody of the media collected (the "Forensic

    Repo11"). The Forensic Repo1t shall provide a summary of the Examiner' s find ings regarding

    the topics identified herein. Plaintiff shall pay the Exarniner·s costs and fees in carrying out

    this so Ordered stipulation and shall remit payment in accordance with the Examiner's standard

    billing practices. The Court will retain jurisdiction to determine an application for cost-shifting

    and attorneys' fees in the event Plaintiff establishes liability and/or that it is a prevailing party

    under the law.

    Dated: Lake Success, New York                      Dated: Jamaica, New York
           January 1:!1_, 2023                                January _Jj_, 2023


    ~~~UPPLLC
                                                          THE LAW OFFICE OF Z.A. WANI


    By:~                                                     ~
                                                       By: Zouhoor A. Wani, Esq.
    3000 Marcus Avenue, Suite 3W8                         16705 Hillside A venue, Suite 2
    Lake Success, NY 11042-1073                           Jamaica, NY 11432-4200
    (5 16) 328-8899 (office)                              (7 18) 206-2020 (telephone)

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     (516) 328-0082 (facsimile)         (718) 206-0505 (facsimile)
     emanuel@mllaborlaw.com             zawanilaw@gmail.com

     Attorneys for Plaintiff            Attorneys for Defendants,
     J.D Workforce, Inc.                Mohamed J. Gafoor &
                                        ABC Company



     Dated:                           SO ORDERED:




                                                                     , U.S.D.J.




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